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   EXHIBIT 13
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                          UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                 MDL No. 2741
LIABILITY LITIGATION
                                        Case No. l6-md-0274 1 -VC


This document relates to:
Hardeman v. Monsanto (3 : I 6-cv-525)




                               EXPERT REPORT OF

                                DR. CHADI NABHAN
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Official Report
Date LL|ZO{ãOLS

Hardeman V. Monsanto

Prepared by: ChadiNabhan, MD, MBA, FACP

Prepared for: Kathryn Forgie, Esq.



    a   Mr. Hardeman was born                                       . He is 70.5 years of age as of the
        time this report is written

    a   On 12126/2014                      Mr. Hardeman was seen by Dr. Todd for "swollen glands"
        He was found to have enlarged lymph nodes in the anterior cervical and submandibular areas'
        lnitially, he was observed,

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    a   Additional staging studies (PET-scan and bone marrow biopsy) confirmed stage lllA disease'
            o   Staging of DLBCL is used to determine the extent of the disease throughout the patient's
                body. Stage lll signifies advanced stage with presence of lymph nodes on both sides of
                 the diaphragm. The bone marrow biopsy was negative. The letter A after lll means that


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            the patient did not have any fevers, drenching night sweats, or unintentional weight loss
            at the time of his diagnosis.
a   The lnternational Prognost¡c lndex (lPl) at the time of diagnosis was 2, meaning that Mr'
    Hardeman had low-intermediate risk score based on clinical factors.

        o The lpl has been used by clinicians since 1993 when a publication demonstrated that 5
            clinicalfactors separate DLBCL patients into low, low-intermediate, high-intermediate,
            and high-risk disease. These factors are: age >60, advanced stage, more than one extra-
            nodal site of disease, poor performance status at diagnosis, and elevated LDH (blood
            test that suggests high volume disease when elevated). Mr. Hardeman had 2 of these 5
            factors (age >60 and advanced stage disease). (N EnglJ Med; Vol 329
                                                                                  p ); 987-994;
            lee3).

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a   Side effects from the chemotherapy while receiving it included nausea, vomiting, fatigue,
    chemo-brain, and significant bone pain as a result from the use if growth factors after
    chemotherapy. Growth factors are usually used to diminish the risk of patients developing
     neutropenic fever and potential infections.

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    ln investigating the etiology and what caused Mr. Hardeman's DLBCL, one must look carefully at
    his history, assess potential risk factors, and then determine possible contributing elements, if
    any, to him developing this disease'

a   There are several known risk factors to pat¡ents developing non-Hodgkin lymphoma (NHL) in
    general and DLBCL in Particular.

o   It is important to note that the majority of DLBCL and NHL patients have no known causes for
    their disease. Physicians would label that as "unknown cause" or "idiopathic". Having said that,
    there are situations where the causes could be explored and ascertained and accordingly, a
    comprehensive evaluation is needed in every patient to attempt identifying the possibility of
    causative factors where the case is not idiopathic.



a                                                        which is similar to median age of DLBCL
    patients at diagnosis in the US. This however, does not eliminate the possibility of certain
    causative factors to his disease. ln fact, part of any history and physical is asking all patients
    about risk factors, exposure, family history, occupational hazards, and other elements of their
    life style. This exercise, which is a standard of care in medical practice, is performed to reveal
    any potential modifiable risk factors, which if eliminated could have substantial impact on the
    disease course and prognosis.

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       o ln a 2OO7 study, Kawamura et al (Americon J of Medicine; Vol 720; 1034-1041), studied
           5OL consecutively hepatitis C infected patients who have never received interferon
           therapy, and compared them with 2708 hepatitis C infected patients who were treated
           with interferon. The development of NHL in the interferon-treated group was 0% up to
           1.5-years of follow up. The authors concluded that the annual incidence of malignant
           lymphoma among patients with hepatitis C is low alO.23% but that sustained virologic
           response induced by interferon therapy protects against the development of NHL in
           patients with known hepatitis C. I note that Mr. Hardeman received interferon in 2005
           and has sustained an excellent virologic response until now including the time when he
           was diagnosed as illustrated above.

       o ln fact, there are some studies that have shown that giving patients anti-viral therapy
           against hepatitis C and after completing treatment for lymphoma, reduces the chances
           of lymphoma relapse significantly, Pellicelli etal (Clinical and Experimental Hepotology;
           2078; 4; 3; 197-200) reported that antiviral therapy is an important strategy to prevent
           relapse of DLBCL patients in those who develop NHL because of hepatitis C. Tsutsumiet
           al (Ann Hematology;2Ot7;96;2057-2061)also showed similar results. These studies
           support that successful treatment of hepatitis C reduces relapse of DLBCL whether given
           before or after treatment of lymphoma'

       o                        potential




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a   Exposure to pesticides has been linked to development of NHL. There are several reports that
    confirm this association and the majority of cancer centers as well as the American Cancer
    Society list pesticides exposure as a known risk factor to developing NHL
                                                       m
    factors.html) (https://mv.clevela ndclinic.ors/health/diseases/15662-adult-non-hodekins-
    lvmphoma)Also , Schinasi and Leon performed a systematic review and a Meta-Analysis to
    better understan d the association between agricultural pesticide chemicalgroups and NHL
    development. The search included articles published in English since L980 until 2014. When
    repeated papers were reviewed, the one with the most complete and updated analysis was
    used. Starting with 858 articles , 44 only were included in the qualitative analysis and of these, 20
    papers provided estimates of association with herbicide chemical groups or active ingredients, 4
    provided association with fungicides, and L7 with insecticides. Of the included papers, several
    had specific data on glyphosate (McDuffie et al 2007; Hardell et ol 2002; De Roos et ol, 2003; De
     Roos et ot, 2005; Eriksson et ol, 2008; and Orsi et al, 2009). The studies that were analyzed in
    this Meta-Analysis were performed in the US, Canada, Europe, Australia, and New Zealand. This
    Meta-Analysis found an association between glyphosate and B-cell lymphoma with an OR 2'0
    (95% Ct:1.i.-3.6) and this was the same OR for DLBCL. This Meta-Analysis represented a
    summary of the data published in the preceding 25 years. lt confirmed a plausible association
    between glyphosate and NHL evolution and development.


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a   During my meeting with him, Mr. Hardeman stated that he has been exposed to
    RoundUp/Glyphosate since 1988. His exposure was essentially for residential use. He initially
    learned about RoundUp from a landscaper that helped him maintain his property that he owned
    between 1985-1988. He then bought a large property (56 acres) in 1988 and used RoundUp
    himself to spray. Between tg88-2012, he sprayed biweekly using a pump-up and hand sprayer.
    He would spend about 2 hours spraying every time he did so. Essentially, he would spray 4
    hours/month for about 7 months every year, as he did not spray during winter months' On
    LZ/3L/20L2, he sold that property and moved to a residential area where he did not need to
    spray. He did not wear protective gears, gloves, or goggles. He mixed the RoundUp himself and
    commented that occasionally, he gets mists on his face when using the compound especially on
    windy days. lt appears that Mr. Hardeman used RoundUp/Glyphosate consistently for 25 years
    (1933-2013) and that his use slowed down but continued between 2013-2015.



a   This exposure to Roundup/glyphosate, a known pesticide, is important in view of literature that
    links glyphosate to NHL. I have personally evaluated epidemiologic studies published on the
    topic and how they correlate clinically on patients diagnosed with lymphoma.

        o   ln March 2015, the lnternational Agency of Research on Cancer (IARC) classified
            glyphosate as a probable human carcinogen (class 2A) after thorough, independent, and
            rigorous investigation by independent researchers and investigators in the field. IARC is
            a division of the World Health Organization (WHO) (h-ttps://www.iarc.frl), established in
            1965 as an independent body to assess potential human hazards that can cause cancer'
            For IARC to evaluate a substance as a potential carcinogen, such substance must have
            ubiquitous human exposure and there must be some preliminary data to suggest a
            potential harm and carcinogenicity.

        o   As of the last update on07l3O/2O18, IARC had evaluated 1",006 substancessince its
            inception. This shows the high selectivity of IARC in deciding which substance to
            evaluate, Of these, only 20% were classified as either group 1 (human carcinogens) or
            2A (probable human carcinogens)(https://monographs.iarc.frlaeents-classified-bv-the-
            iarc/)

        o   IARC reviews peer-reviewed published literature including epidemiologic studies, animal
            data, and genotoxicity studies. ln addition, IARC assesses plausible mechanisms of
            action for possible carcinogenicity of the studied compound. Some of the studies that   I



            have reviewed, analyzed, and assessed, which were also included in the IARC report are
            summarized below:

                    One epidemiologic study was published by McDuffie et al (Cancer Epidemiology,
                    Biomarkers, and Prevention; Vol. 70, 7755-7763, November 20011where 517
                    cases and L5O6 controls were included. The risk of NHL was statistically
                    significantly increased among glyphosate exposed individuals more than two
                    days per year with an OR of 2.I2 (95% Cl: I'20-3.73). This doubling of the risk
                    was statistically significa nt.




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            Another analyzed study was published by DeRoos et al in 2003 (Acçyp Enviran
            Med.2003 Sep; 60 (9): 811.1where 650 cases and 1.933 controls were evaluated.
            The OR for glyphosate increasing the risk of developing NHL was 2.1 (95% Cl:
            1.1-4.0). This doubling of the risk was statistically significant, The authors of this
            study performed a hierarchical regression analysis, which reduced the OR to L.6
            (95% Cl:0.9-2.8), however the hierarchal regression in this study has its own
            limitations that question its findings in my opinion. First, logistic regression is
            what we almost always used clinically because the hierarchical model makes a
            number of assumptions that get incorporated into the final estimates, but the
            accuracy of the output is contingent on the assumptions included in the model.
            ln this paper, DeRoos et al gave glyphosate a "carcinogenicity rating" of 0.3. This
            rating would be inaccurate if we are to perform the modeling today. According
            to DeRoos et al, a weighting factor of 0.6 should be given to any substance that
            is found by IARC to be probably carcinogenic to humans. lf the new assumption
            is applied to the model, the output of the hierarchical regression would likely
            change. This modeling also assumed that all agents/herbicides studied have the
            same effect on NHL, however we do not know if this is the case nor do we have
            data that these other pesticides are indeed causing NHL to be properly included
            in the model. Lastly, the OR of 1,6 that is found in the hierarchal regression is
            actually in line with ORs that are found in other studies such as the meta-
            analysis that I describe above. ln my assessment as a clinician and researcher,     I



            do not believe that the findings of the hierarchail regression negate the risk
            identified and confirmed in the logistic regression performed by the authors'

            Eriksson et al (/ntJ cancer;2008; oct 7;723 (7); 1657-1663l reported on 910
            cases and 1016 controls and showed an OR of 2.36 (95%Cl:1.04-5.37)for
            developing NHL in individuals exposed to glyphosate more than 10 days in their
            lifetime. This study also shows that more exposure leads to higher risk similar to
            the McDuffie et al paper summarized above'

            The IARC report included the preliminary data of the Agricultural Health Study
            (AHS) (httpç.://aeheallh.nih.eov/), which was initially published by DeRoos et al
            in 2005 and found no association between glyphosate and NHL. The AHS is a
            prospective study that enrolled commercial pesticide applicators from lowa and
            North Carolina and in the mid-1990s, and who were followed prospectively with
            repeated questionnaires. The study was updated in 2018 (Andreotti et al; JNCI)
            where it found no association between glyphosate and NHL. I have analyzed this
            study personally and evaluated the methodologies. This study suffered several
            critical flaws, including, but not limited to, the dropout rate where almost 40%
            of participants lost to follow up and the fact that the control arm was farmers,
            an occupation established as a known risk factor for NHL, making it rather
            difficult to show increased risk for the glyphosate arm given the controls,
            Despite the imputation method that was applied by the authors, the 40%
            dropout rate ¡s substantial and cannot be ignored. Also, enrollees who
            completed the questionnaire during their follow up were required to describe
            their exposure during the "one year immediately prior to filling the
            questionnaire". Clearly, this is a major limitation that underestimates exposures
            for some of these resPondents.

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        o   Group 2A (probable) is the highest level of evidence short of a "definitive association",
            which is best established with randomized controlled study. Such study would be
            unethical as it exposes patients to a potentially harmful and probable carcinogenic
            agent.

        o The results of the IARC investigation were published in the Lancet Oncology in May 2015
            by Guyton et al (https://www.thelancet.comliournalsllanonc/artlcle/P1151470:
            2045( L5)70134-8/fu lltext).



        o   Epidemiologic studies were unable to look at subtypes of NHL when assessing
            epidemiologic causation. This is understandable as the classification of NHL has evolved
            over the years and there are many new subtypes that have been recognized that were
            not known in the late 1.990s or early 2000s. The latest classification for NHL was
            published in 2016 by Swerdlow et al
                                                                                                 this
            lbJtp://www.bloodiournal.orelcontent/bloodiournal/127120/2375.full.pdf)and in
            classification, over 60 subtypes of B and T cell NHL have been identified. This shows that
            epidemiologic studies would rarely be able to investigate association between any
            occupational hazard and types of NHL. Add to this the rarity of PCNSL $% of all NHLs),
            and we can conclude that studying epidemiologic evidence can be done for the entire
            disease category; in this instance NHL. Analogous to studying epidemiology of breast
            and prostate cancer. We study the epidemiology of these diseases in their totality even
            though we now recognize different subtypes of prostate and breast cancers.

a    Mr. Hardeman has been exposed to glyphosate in a manner that fits within the published
     epidemiologic literature and the studies where causation and an association between NHL and
     glyphosate have been demonstrated'



a    I met with Mr. Hardeman on Friday tL/t6l2)t8.



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o He initially worked in finance after leaving the army. He then formed his own company with his
     wife and son, called (Bay World industries). He would help manufacture hardware to casinos
     and also do signage boards.
o    He lives currently with his wife; he has one adopted child'
o    His family history is negative for lymphomas, He is the youngest of 5 siblings.
o                                                                                 '

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   a      I performed a brief physical examination.




   a      ln performing the differential diagnosis into what caused Mr. Hardeman's DLBCL, I conclude, to
          a reasonable degree of medical certainty, that his exposure to roundup/glyphosate is a
          substantial factor contributing to the development of his NHL.




Signed



Chadi Nabhan, MD, MBA, FACP




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